
940 So.2d 576 (2006)
S.B., a Child, Petitioner,
v.
STATE of Florida, Respondent.
No. 5D06-3694.
District Court of Appeal of Florida, Fifth District.
October 27, 2006.
Robert Wesley, Public Defender and Jessica C.R. Buonauro, Assistant Public Defender, Orlando for Petitioner.
Charles J. Christ, Jr., Attorney General, Tallahassee, and. Jeffrey R. Casey, Assistant *577 Attorney General, Daytona Beach, for Respondent.
PER CURIAM.
We grant the petition for writ of habeas corpus as the trial court summarily adjudicated and sentenced Petitioner for direct contempt without providing Petitioner an opportunity to be heard on the matter, nor present any "evidence of excusing or mitigating circumstances."[1] Fla. R. Juv. P. 8.150(a); M.L. v. State, 819 So.2d 240 (Fla. 2d DCA 2002). The trial court shall, within three business days of the date of this opinion, either conduct a hearing in accordance with rule 8.150(a), or order Petitioner's immediate release from secure detention.
PETITION GRANTED; CAUSE REMANDED.
GRIFFIN, MONACO and ORFINGER, JJ., concur.
NOTES
[1]  We note that the trial court has apparently remanded Petitioner to secure detention for a period of 30 days for the direct contempt. Such a sentence appears to violate Section 985.037(2), Florida Statutes (2006) that provides, in pertinent part: "A delinquent child who has been held in direct or indirect contempt may be placed in a secure detention facility not to exceed 5 days for a first offense and not to exceed 15 days for a second or subsequent offense."

